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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH H. LEWIS, JR.,                           :
                Plaintiff,                      :           CIVIL ACTION
                                                :
               v.                               :
                                                :
UNIVERSITY OF PENNSYLVANIA,                     :           No. 16-5874
               Defendant.                       :

                                           ORDER

       AND NOW, this 21st day of August, 2017, upon consideration of Defendant’s July 31,

2017 correspondence regarding availability for proposed trial dates, it is hereby ORDERED

that the parties shall continue to keep the weeks of January 8, 2018 and January 15, 2018

tentatively available, along with the week of February 5, 2018.




                                                    BY THE COURT:


                                                    S/Gene E.K. Pratter
                                                    GENE E.K. PRATTER
                                                    United States District Judge




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